             Case 4:22-cv-00062-LPR Document 12 Filed 05/31/22 Page 1 of 1




                             IN THE UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF ARKANSAS
                                       CENTRAL DIVISION

TOMMY HOLT                                                                                            PLAINTIFF
#095687

v.                                   Case No.: 4:22-cv-00062-LPR-JTK

RODNEY WRIGHT, et al.                                                                             DEFENDANTS


                                                   JUDGMENT

          Pursuant to the Order dated April 18, 2022 (Doc. 10), it is considered, ordered, and

adjudged that plaintiff Tommy Holt’s Complaint is dismissed without prejudice for failure to

prosecute.1 The Court certifies pursuant to 28 U.S.C. § 1915(a)(3) that an in forma pauperis appeal

taken from the Order and Judgment dismissing this action is considered frivolous and not in good

faith.

          IT IS SO ADJUDGED this 31st day of May 2022.



                                                                ________________________________
                                                                LEE P. RUDOFSKY
                                                                UNITED STATES DISTRICT JUDGE




1
     Plaintiff has violated Local Rule 5.5 by (1) failing to update his address, and (2) failing to respond to an Order
     directing him to update his address.
